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 6
                              UNITED     STATES   DISTRICT        COURT
 7                            EASTERN DISTRICT       OF       WASHINGTON



      UNITED STATES OF AMERICA,                           No.    CR-11-116-LRS-5

 9
                    Plaintiff,                            ORDER    GRANTING     MOTION AND
                                                          SETTING CONDITIONS
10
      v.                                                     RELEASE
                                                          OF RELE

11
      CHELCE A.     ZIMMERMAN,                            m     Moti on Granted
12
                                                                (Ct.   Rec.   116)
                    Defendant.
13
                                                          H     A ction
                                                                A         Required
14


15   Date of Motion hearing: October 28, 2011.

16
            IT IS ORDERED that the release of the Defendant is subject to the

17   following:

18
                              STANDARD    CONDITIONS          OF RELEASE


19


20
      (1)      Defendant shall not commit any offense in violation of
               federal, state or local law.   Defendant shall advise the
21
               supervising Pretrial Services Officer and defense counsel
               within one business          day of    any charge,         arrest,    or contact
22             with law enforcement.


23
      (2)      Defendant shall immediately advise the court, defense counsel
               and the U.S. Attorney in writing before any change in address
24             and telephone number.

25
      (3)      Defendant shall appear at all proceedings as required and
               shall surrender for service of any sentence imposed as
26             directed.


27
      (4)      Defendant    shall   sign and complete A.O.                 199C before being
               released and shall reside at the addressed furnished.
28
      (5)      Defendant shall not possess a firearm, destructive device or

      ORDER    SETTING   CONDITIONS    OF   RELEASE
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